             Case 2:18-cv-00153-cr Document 14 Filed 10/16/20 Page 1 of 1

                                                                                      U.S. DIS {frir~y COLIR J
                                                                                     0/STf)h 1• Q/v     , 11
                                                                                           ,f l., j VE:R~ON T
                                                                                              FILED . , I      '
                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF VERMONT                                2 2 OCT 16 PM ~: OZ
                                                                                             CLEl'{H
LORI A. RATHBONE,                             )
      Plaintiff,                              )                                     BY .     l1b/
                                                                                DEPUT:-:-:Y:-:c~
                                                                                               ,L-:-E-Rk-, -
                                              )
        V.                                    )       Civil No. 2:18-CV-00153-CR
                                              )
                                              )
Commissioner of Social Security,              )
     Defendant.                               )

                                             ORDER

        The parties agree, and I hereby find, that Plaintiff is entitled to an award of EAJA

attorney's fees in the amount of five thousand, nine hundred dollars ($5 ,900.00), plus costs in the

amount of fourty two dollars and eleven cents ($42.11) pursuant to 28 U.S.C. § 1920; that the

EAJA Application was filed by and for the Plaintiff and properly seeks an award of attorney's

fees for the Plaintiff and not for counsel; that under the circumstances of this case, the EAJA fee

has been assigned to counsel by written assignment dated September 17, 2018; and that the

award of attorney's fees and costs be made payable to Phyllis E. Rubenstein, Esq. as assignee of

Petitioner Lori A. Rathbone, so long as Petitioner owes no debt to the Government that would be

subject to offset.

        SO ORDERED.
                                                                      ff,,
        Dated at Burlington, in the District of Vermont, this   /{p    day of   a...64, 2020.
